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Debtor: Lordstown EV Corporation                                        Case No. 23-10832 (MFW)
                                                                        Reporting Period: January 2024

         General Notes to Monthly Operating Report and Supporting Documentation

The Debtors have prepared the MOR with the assistance of their advisors and professionals solely for the
purpose of complying with the reporting requirements applicable to the Chapter 11 Cases. The financial
and supplemental information contained herein is unaudited and is not prepared in accordance with
Generally Accepted Principles in the United States (GAAP) nor in accordance with securities laws or
other applicable non-bankruptcy law. Although the Debtors have made commercially reasonable efforts
to ensure the accuracy and completeness of the MOR, inadvertent errors or omissions may exist.


The Debtors have historically accounted for and reported (and their accounting systems and practices
were developed to account for and report) assets and liabilities on a consolidated basis and not on an
entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’ business has been operated on
a consolidated basis with no allocation of assets and liabilities to different entities. In preparing this
Monthly Operating Report, the Debtors have reported the assets, liabilities, and other information herein
on a deconsolidated basis based on certain assumptions which may or not ultimately be proven valid. In
light of the foregoing, this report is subject to material change and should not be construed as constituting
a definitive determination regarding the allocation of particular assets or liabilities as among the Debtors
(and there is a significant likelihood that such allocation will not be possible). The rights of all Debtors
(and each of their estates) with respect to these issues are reserved.


The amounts reflected for Total Current Assets, Other Assets (Cumulative Funding of / Investment in
Subsidiary, and Total Assets each include, without limitation, the cumulative funding/investment by
Lordstown EV Corporation to or in its subsidiary Lordstown EV Sales LLC. To be clear, the amounts do
not reflect the fair value amount and no fair value analysis or impairment has been conducted with
respect to such funding/investment and any related equity value.

Certain portions of the Debtors' prepetition contingent liabilities reflect disputed liabilities that are
subject to compromise, and all rights of all Debtors are reserved with respect to such liabilities and their
allocation.

             General Notes to Balance Sheet and Statement of Operations Attachments

These financial statements were prepared by the Debtors' management and are preliminary and subject to
final quarter-end closing adjustments, which have not been fully completed prior to preparation of this
MOR.
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Debtor:       Lordstown EV Corporation                                                               Case #:       23-10832

Cash Receipts Listing

  TRX Date                        Received From              Category                         Amount           Bank Account Number
  1/3/2024    Paylocity Corporation                          COBRA Reimbursement                   5,639.30          7675
  1/4/2024    Employees                                      Asset Sales                           2,715.00          7675
  1/5/2024    Paylocity Corporation                          COBRA Reimbursement                  22,829.51          7675
  1/5/2024    Employee                                       Asset Sales                           3,000.00          7675
  1/8/2024    Procurri LLC                                   Asset Sales                          12,640.00          7675
 1/19/2024    Foxconn EV Systems                             Asset Sales                          31,200.00          7675
 1/26/2024    Foxconn EV Systems                             Truck Repurchase                    210,000.00          7675
 1/29/2024    Procurri LLC                                   Asset Sales                           9,350.00          7675
 1/29/2024    Foxconn EV Systems                             Insurance Refund                      6,025.25          7675
 1/31/2024    Paylocity Corporation                          COBRA Reimbursement                  12,017.68          7675
   Various    JPMorgan Chase Bank, N.A.                      Dividends and interest              393,425.46          4520
 1/31/2024    JPMorgan Chase Bank, N.A.                      Interest                                136.78          7736
                                                             Total Receipts                     708,978.98
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Debtor:     Lordstown EV Corporation                                                                   Case #:       23-10832

Cash Disbursement Listing

 TRX Date                            Paid To                    Category                        Amount           Bank Account Number

1/4/2024    Paylocity                                           Payroll                    $        72,468.45          7592
1/4/2024    Paylocity                                           Payroll                    $        52,194.70          7592
1/4/2024    Paylocity                                           Payroll                    $        15,021.74          7592
1/4/2024    Paylocity                                           Payroll                    $        10,537.30          7592
1/4/2024    AT&T Mobility                                       Other                      $        12,489.70          7675
1/4/2024    CR&R Incorporated                                   Utilities                  $         1,138.74          7675
1/5/2024    Paylocity                                           Payroll                    $           523.85          7592
1/5/2024    Paylocity                                           Payroll                    $            20.14          7592
1/5/2024    Paylocity                                           Payroll                    $             0.01          7592
1/5/2024    CA Dept of Tax and Fee Administration               Other                      $         2,145.00          7675
1/8/2024    Tag Resources                                       Payroll - TAG Fee          $         2,550.00          7592
1/12/2024   Paylocity                                           Payroll - FSA Claims       $            40.00          7592
1/16/2024   Various                                             AP Disbursement 1          $       594,878.50          7675
1/16/2024   Various                                             AP Disbursement 2          $       471,689.98          7675
1/17/2024   Paylocity                                           Payroll                    $        65,472.79          7592
1/17/2024   Paylocity                                           Payroll                    $        33,295.19          7592
1/17/2024   Paylocity                                           Payroll                    $         5,207.59          7592
1/17/2024   Paylocity                                           Payroll                    $         2,477.52          7592
1/18/2024   GOVERNMENT OF D.C US                                Truck Repurchase           $       960,000.00          7675
1/19/2024   Paylocity                                           Payroll                    $         1,484.98          7592
1/19/2024   Paylocity                                           Payroll                    $           789.72          7592
1/19/2024   Paylocity                                           Payroll                    $            30.00          7592
1/24/2024   Various                                             AP Disbursement 3          $       645,679.47          7675
1/24/2024   PCARD                                               Other                      $           700.05          7725
1/25/2024   Paylocity                                           Payroll                    $           347.02          7592
1/25/2024   Jefferies Financial Group Inc DBA Jefferies LLC     Transaction Fee            $     1,608,856.07          7675
1/26/2024   Paylocity                                           Payroll                    $            43.00          7592
1/29/2024   U.S. TRUSTEE PAYMENT CENTER                         Quarterly Fee              $       150,628.87          7675
1/29/2024   U.S. TRUSTEE PAYMENT CENTER                         Quarterly Fee              $           250.00          7675
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Debtor:     Lordstown EV Corporation                                                         Case #:       23-10832

Cash Disbursement Listing

 TRX Date                         Paid To                Category                      Amount          Bank Account Number

1/29/2024   U.S. TRUSTEE PAYMENT CENTER                  Quarterly Fee            $          250.00          7675
1/29/2024   Various                                      AP Disbursement 4        $      120,791.64          7675
1/31/2024   Paylocity                                    Payroll                  $       66,065.52          7592
1/31/2024   Paylocity                                    Payroll                  $       33,635.81          7592
1/31/2024   Paylocity                                    Payroll                  $        4,665.45          7592
1/31/2024   Paylocity                                    Payroll                  $        1,752.15          7592
                                                         Total Disbursements           4,938,120.95
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Debtor:       Lordstown EV Corporation                                                                                           Case #:      23-10832

Cash Disbursement Listing - Detail for AP Disbursements


Posting Date Bal. Account No.    Description                                                                            Amount             Category

   1/16/2024 V14870              275 Hills Tech Ventures, LLC                                                           $        (40.00) Rent
   1/16/2024 V05260              Armor Holdco, Inc. dba American Stock Transfer & Trust Company, LLC                    $     (1,231.35) Consulting
   1/16/2024 V05260              Armor Holdco, Inc. dba American Stock Transfer & Trust Company, LLC                    $     (1,202.00) Consulting
   1/16/2024 V15530              Cintas Corp - Payer# 21007041                                                          $       (543.57) Other
   1/16/2024 V01580              Corporation Service Company dba CSC                                                    $       (269.40) Other
   1/16/2024 V11530              CT Corporation System                                                                  $       (435.00) Other
   1/16/2024 V09920              ElectroCycle, Inc                                                                      $        (20.00) Utilities
   1/16/2024 V03910              ETRADE Financial Corporate Services, Inc.                                              $     (8,750.00) Other
   1/16/2024 V10440              Infosys Limited                                                                        $     (6,187.10) Consulting
   1/15/2024 V15860              Kurtzman Carson Consultants, LLC                                                       $   (572,001.16) Consulting
   1/16/2024 V15960              Reliable Copy Service Inc, DBA Reliable Companies                                      $        (42.00) Other
   1/16/2024 V15960              Reliable Copy Service Inc, DBA Reliable Companies                                      $        (54.00) Other
   1/16/2024 V15760              TERIS - Phoenix LLC DBA TERIS                                                          $     (3,248.40) Consulting
   1/16/2024 V03630              Toppan Merrill USA Inc dba Toppan Merrill LLC                                          $       (420.00) Other
   1/16/2024 V03870              Vestige Ltd dba Vestige Digital Investigations                                         $       (434.52) Legal
                                 Total AP Disbursement 1                                                                $   (594,878.50)

   1/16/2024 V00080              Baker Hostetler                                                                        $    (88,432.23) Legal
   1/15/2024 V09740              FTI Consulting, Inc.                                                                   $    (31,808.27) Consulting
   1/15/2024 V09740              FTI Consulting, Inc.                                                                   $    (17,409.71) Consulting
   1/16/2024 V04430              KPMG LLP                                                                               $    (53,029.60) Consulting
   1/16/2024 V15860              Kurtzman Carson Consultants, LLC                                                       $     (8,439.15) Consulting
   1/16/2024 V16060              Morris James LLP                                                                       $       (106.57) Legal
   1/16/2024 V16060              Morris James LLP                                                                       $    (69,443.85) Legal
   1/15/2024 V11800              Nelson Mullins Riley & Scarborough LLP                                                 $     (8,970.37) Legal
   1/15/2024 V06560              Prospect Law LLP                                                                       $     (1,860.00) Legal
   1/15/2024 V15840              Silverman Consulting, Inc                                                              $   (166,690.23) Consulting
   1/15/2024 V10150              Sullivan & Cromwell LLP                                                                $    (25,500.00) Legal
                                 Total AP Disbursement 2                                                                $   (471,689.98)
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Debtor:       Lordstown EV Corporation                                                                                            Case #:      23-10832

Cash Disbursement Listing - Detail for AP Disbursements


Posting Date Bal. Account No.    Description                                                                             Amount             Category


   1/26/2024 V16040              Brown Rudnick LLP                                                                       $   (408,430.44) Legal
   1/26/2024 V16060              Morris James LLP                                                                        $    (44,072.37) Legal
   1/26/2024 V16000              Huron Consulting Group Inc, DBA Huron Consulting Services LLC                           $   (109,241.20) Consulting
   1/26/2024 V16010              Troutman Pepper Hamilton Sanders LLP                                                    $    (83,935.46) Legal
                                 Total AP Disbursement 3                                                                 $   (645,679.47)

   1/29/2024 V00110              Ernst & Young                                                                           $     (9,210.00) Consulting
   1/29/2024 V00330              SKYNET INNOVATIONS                                                                      $    (10,941.13) Software
   1/29/2024 V00330              SKYNET INNOVATIONS                                                                      $     (3,121.73) Software
   1/29/2024 V00330              SKYNET INNOVATIONS                                                                      $        (64.96) Software
   1/29/2024 V03630              Toppan Merrill USA Inc dba Toppan Merrill LLC                                           $       (920.00) Other
   1/29/2024 V03870              Vestige Ltd dba Vestige Digital Investigations                                          $     (4,042.50) Legal
   1/29/2024 V11530              CT Corporation System                                                                   $       (241.25) Other
   1/29/2024 V11530              CT Corporation System                                                                   $       (152.37) Other
   1/29/2024 V11820              Complete Discovery Source, Inc (CDS)                                                    $     (1,890.00) Legal
   1/29/2024 V13360              Haynes and Boone, LLP                                                                   $    (90,000.00) Legal
   1/29/2024 V15960              Reliable Copy Service Inc, DBA Reliable Companies                                       $       (207.70) Other
                                 Total AP Disbursement 4                                                                 $   (120,791.64)
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                                Lordstown EV Corporation
                                      Balance Sheet
                                As of January 31, 2024 (1)



                                    ASSETS
Current Assets
       Cash, Cash Equivalents and Short-term Investments                $      82,866,769
       Accounts Receivable                                                            -
       Inventory, net                                                                 -
       Prepaid Expenses and Other                                               4,240,426

Total Current Assets                                                           87,107,195

Property, Plant & Equipment
       Property, Plant & Equipment, net                                                -

Other Assets
       Right of Use Assets                                                            -
       Cumulative Funding of / Investment in Subsidiary                           148,547 (2)
       Receivable from Subsidiary                                                     -

Total Other Assets                                                                148,547 (3)

Total Assets                                                            $      87,255,743 (3)


               LIABILITIES AND SHAREHOLDERS' EQUITY
Current Liabilities
       Accounts Payable - post-petition                                 $       1,702,012
       Accounts Payable - pre-petition                                          2,830,755
       Accrued Expenses - post-petition                                        10,899,333
       Accrued Expenses - pre-petition                                         17,175,399
       Right of Use Liabilities, current                                              -

Total Current Liabilities                                                      32,607,499

Long-Term Liabilities
      Right of Use Liabilities, long-term                                              -
                                                                                       -

Total Long-Term Liabilities                                                            -

Total Liabilities                                                              32,607,499

Shareholders' Equity
       Common Stock                                                                    -
       Additional Paid-In Capital                                            1,168,391,695
       Retained Earnings                                                    (1,113,743,451)

Total Shareholders' Equity                                                     54,648,244

Total Liabilities and Shareholders' Equity                              $      87,255,743




                                    See Notes to Financial Statements
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                       Lordstown EV Corporation
                        Statement of Operations
                 For the month ended January 31, 2024




Revenues                                              $             -

Total Revenues                                                      -

Operating Expenses:
    Employee Expenses                                 $         296,581
    Professional Fees                                        (3,402,090)
    Legal Fees                                                 (588,123)
    Bankruptcy Expenses                                       2,420,293
    Insurance Expense                                           580,333
    Rent Expense                                                (11,827)
    Freight Expense                                                 -
    Shop and Misc. Expense                                     (138,927)
    Office and shop expenses                                        205
    Other                                                        17,179

    Total Operating Expenses                                  (826,377)

Other Income/(Expense):
    Interest and Dividend Income                               393,562
    Gain/(Loss) on Sale of Assets                                  -
    Other Income/(Expense)                                    (104,864)

    Total Other Income/(Expense)                               288,698

Net Income/(Loss)                                     $      1,115,075
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            Debtor:     Lordstown EV Corporation                       Case No.23-10832 (MFW)
                                                                       Reporting Period: January 2024

                                 Specific Notes to Financial Statements


Note (1):   The Debtors have historically accounted for and reported (and their accounting systems and
            practices were developed to account for and report) assets and liabilities on a consolidated basis
            and not on an entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’ business
            has been operated on a consolidated basis with no allocation of assets and liabilities to different
            entities. In preparing this Monthly Operating Report, the Debtors have reported the assets,
            liabilities, and other information herein on a deconsolidated basis based on certain assumptions
            which may or not ultimately be proven valid. In light of the foregoing, this report is subject to
            material change and should not be construed as constituting a definitive determination regarding
            the allocation of particular assets or liabilities as among the Debtors (and there is a significant
            likelihood that such allocation will not be possible). The rights of all Debtors (and each of their
            estates) with respect to these issues are reserved.



Note (2):   The amount reflected represents the cumulative funding/investment by Lordstown EV
            Corporation to or in its subsidiary Lordstown EV Sales LLC. The amount does not reflect the
            fair value amount and no fair value analysis or impairment has been conducted.

Note (3):   The amount reflected includes, without limitation, the cumulative funding/investment by
            Lordstown EV Corporation to or in its subsidiary Lordstown EV Sales LLC. The amount does
            not reflect the fair value amount and no fair value analysis or impairment has been conducted
            with respect to such funding/investment and any related equity value.
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Debtor:      Lordstown EV Corporation                                                                                     Case #:         23-10832

Schedule of Asset Sales

On November 27, 2023, the bankruptcy court issued an order approving (a) procedures for the sale or other disposition of miscellaneous assets
and (b) the sale or other disposition of miscellaneous assets free and clear of liens, claims, interests, and encumbrances in accordance with
such procedues [Docket No. 737]. Pursuant to such approval order, and upon proper notice of sale, the bankruptcy court issued orders on
December 19, 2023 [Docket No. 839], December 27, 2023 [Docket No. 870] and December 28, 2023 [Docket No. 875] authorizing and approving
the sale of certain of the Debtors' assets. The proceeds received in January from these approved sales were $58,905.
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In re Lordstown EV Corporation
Case No. 23‐10832
All bank statements and bank reconciliations for the reporting period
Reporting Period: January 1, 2024 to January 31, 2024

The Debtor hereby submits this attestation regarding bank account reconciliations in lieu of
providing copies of bank statements, bank reconciliations and journal entries during January 2024.

The Debtors’ standard practice is to ensure that bank reconciliations are completed before closing the books
each reporting period. I attest that each of the Debtors’ bank accounts has been reconciled in accordance
with their standard practices.

/s/ Adam Kroll                                                            February 28, 2024
Signature of Authorized Individual                                        Date

Adam Kroll                                                                Chief Financial Officer
Printed Name of Authorized Individual                                     Title of Authorized Individual
